                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 1 of 14 Page ID #:1



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                              8   Logan Kurtz
                              9
                                                    UNITED STATES DISTRICT COURT
                          10                                  FOR THE
                          11
                                                   CENTRAL DISTRICT OF CALIFORNIA
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                          12       LOGAN KURTZ                             Case No.: 2:18-cv-09900
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          13                   Plaintiff,                    COMPLAINT FOR DAMAGES
                          14                           v.                     DEMAND FOR JURY TRIAL
                          15       MONARCH RECOVERY
                          16
                                   MANAGEMENT, INC.;

                          17                   Defendant
                          18      ///
                          19
                                  ///
                          20
                                  ///
                          21

                          22      ///
                          23      ///
                          24
                                  ///
                          25
                                  ///
                          26

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                          28

                                  COMPLAINT FOR DAMAGES
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 2 of 14 Page ID #:2


                              1

                              2                                         INTRODUCTION
                              3
                                  1.   This is a case about a consumer who obtained a new cell phone number, and
                              4
                                       immediately began receiving debt collection robo-calls asking for an unknown
                              5

                              6        person. The calls continue despite the caller(s) being on notice from the outgoing
                              7
                                       message that the called party was not who the caller was looking for, and despite
                              8
                                       the fact that the consumer had not given consent to robo-calls by the caller(s). To
                              9

                          10           avoid any confusion, the consumer orally revoked any consent to call his newly
                          11
                                       acquired phone number, but the phone calls still continue to this day.
                          12
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                          13
                                  2.   LOGAN KURTZ (“Plaintiff”), by Plaintiff’s attorney, brings this action for
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14           actual damages, statutory damages, punitive damages, injunctive relief,
                          15
                                       restitution, attorney fees, and costs, against MONARCH RECOVERY
                          16

                          17           MANAGEMENT, INC. for violations of the Fair Debt Collection Practices Act,

                          18           15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”), the Rosenthal Fair Debt
                          19
                                       Collection Practices Act, California Civil Code § 1788 et seq. (hereinafter
                          20

                          21           “RFDCPA”), and the Telephone Consumer Protection Act, 47 U.S.C. § 227 et

                          22           seq., (hereinafter “TCPA”), all of which prohibit debt collectors from engaging
                          23
                                       in abusive, deceptive and unfair practices.
                          24

                          25      3.   Plaintiff makes these allegations on information and belief, with the exception

                          26           of those allegations that pertain to the Plaintiff, or to the Plaintiff’s counsel,
                          27
                                       which Plaintiff alleges on personal knowledge.
                          28



                                  COMPLAINT FOR DAMAGES                                              Page 2 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 3 of 14 Page ID #:3

                                  4.   While many violations are described below with specificity, this Complaint
                              1

                              2        alleges violations of the statutes cited in their entirety.
                              3
                                  5.   All violations by Defendant were knowing, willful, and intentional, and
                              4
                                       Defendant did not maintain procedures reasonably adapted to avoid any such
                              5

                              6        violations.
                              7
                                  6.   Unless otherwise indicated, the use of a Defendant’s name in this Complaint
                              8
                                       includes all agents, principles, managing agents, employees, officers, members,
                              9

                          10           directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
                          11
                                       representatives, and insurers of that Defendant named.
                          12
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                          13
                                                                JURISDICTION AND VENUE
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14      7.   Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states
                          15
                                       that such actions may be brought and heard before “any appropriate United States
                          16

                          17           district court without regard to the amount in controversy,” 28 U.S.C. § 1331,

                          18           which grants this court original jurisdiction of all civil actions arising under the
                          19
                                       laws of the United States, and pursuant to 28 U.S.C. § 1367 for pendent state law
                          20

                          21           claims.

                          22      8.   This action arises out of Defendant’s violations Fair Debt Collection Practices
                          23
                                       Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”), the Telephone Consumer
                          24

                          25           Protection Act, 47 U.S.C. § 227 et seq., (hereinafter “TCPA”), the Rosenthal Fair

                          26           Debt Collection Practices Act, California Civil Code § 1788 et seq. (hereinafter
                          27
                                       “RFDCPA”) and the tortious act of invasion of privacy.
                          28



                                  COMPLAINT FOR DAMAGES                                               Page 3 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 4 of 14 Page ID #:4

                                  9.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the acts and
                              1

                              2         transactions occurred here, Plaintiff resides here, and Defendant transacts
                              3
                                        business here.
                              4
                                                                  FDCPA AND RFDCPA
                              5

                              6   10. In enacting the FDCPA, Congress found that:
                              7        a.    There is abundant evidence of the use of abusive, deceptive, and unfair debt
                              8              collection practices by many debt collectors. Abusive debt collection
                                             practices contribute to the number of personal bankruptcies, to marital
                              9              instability, to the loss of jobs, and to invasions of individual privacy.
                          10
                                       b.    Existing laws and procedures for redressing these injuries are inadequate to
                          11                 protect consumers.
                          12           c.    Means other than misrepresentation or other abusive debt collection
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                          13                 practices are available for the effective collection of debts.
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     548 MARKET ST. #80594




                          14           d.    Abusive debt collection practices are carried on to a substantial extent in
                          15
                                             interstate commerce and through means and instrumentalities of such
                                             commerce. Even where abusive debt collection practices are purely intrastate
                          16                 in character, they nevertheless directly affect interstate commerce.
                          17           e.    It is the purpose of this title to eliminate abusive debt collection practice by
                          18                 debt collectors, to insure that those debt collectors who refrain from using
                                             abusive debt collection practices are not competitively disadvantaged, and to
                          19
                                             promote consistent State action to protect Consumers against debt collection
                          20                 abuses. 15 U.S.C. § 1692.
                          21      11. Similarly, when enacting the RFDCPA, the California Legislature found that:
                          22
                                             The banking and credit system and grantors of credit to consumers are
                          23                 dependent upon the collection of just and owing debts. Unfair or
                                             deceptive collection practices undermine the public confidence which
                          24
                                             is essential to the continued functioning of the banking and credit
                          25                 system and sound extensions of credit to consumers. Cal. Civil Code
                                             § 1788.1(a)(1).
                          26

                          27      12. The FDCPA and the RFDCPA are both strict liability statutes. That is, a

                          28            plaintiff need not prove intent or knowledge on the part of the debt collector to


                                  COMPLAINT FOR DAMAGES                                                 Page 4 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 5 of 14 Page ID #:5

                                      establish liability. See Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,
                              1

                              2       1060-61 (9th Cir. 2011); Donohue v. Quick Collect, 592 F.3d 1027, 1030 (“[t]he
                              3
                                      FDCPA is a strict liability statute that makes debt collectors liable for violations
                              4
                                      that are not knowing or intentional”).
                              5

                              6   13. To further protect consumers, claims under the FDCPA and RFDCPA are to be
                              7
                                      judged according to the “least sophisticated debtor” or “least sophisticated
                              8
                                      consumer” standard. Gonzales at 1061. This standard is lower than the
                              9

                          10          “reasonable debtor” standard, and is specifically designed to protect consumers
                          11
                                      of below average and sophistication or intelligence. Id. In addition, a plaintiff
                          12
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                          13
                                      need not even have actually been misled or deceived by the debt collector’s
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14          communication. Rather, liability depends on whether the hypothetical least
                          15
                                      sophisticated debtor – someone who is uninformed and naïve – would have
                          16

                          17          likely been misled. Id.; see also Tourgeman v. Collins Financial Servs., 755

                          18          F.3d 1109, 1119 (9th Cir. 2014).
                          19
                                                                         PARTIES
                          20

                          21      14. Plaintiff is a natural person who resides in the County of Los Angeles, State of

                          22          California. Plaintiff is a a “consumer” as that term is defined by 15 U.S.C. §
                          23
                                      1692a(3) and by 15 U.S.C. § 1681a(c), “Debtor” as that term is defined by
                          24

                          25          California Civil Code § 1788.2(h), and is a “Person” as that term is defined by

                          26          the TCPA, 47 U.S.C. § 153(39), and is a subscriber to cellular telephone
                          27
                                      services within the United States.
                          28



                                  COMPLAINT FOR DAMAGES                                              Page 5 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 6 of 14 Page ID #:6

                                  15. Defendant Monarch Recovery Management, Inc. (hereinafter “Defendant”) is
                              1

                              2       a Pennsylvania corporation operating from an address of 3260 Tillman Drive,
                              3
                                      Suite 75, Bensalem, PA 19020, and is a “Debt Collector” as that term is defined
                              4
                                      by 15 U.S.C. § 1692a(6) and Cal. Civ. Code § 1788.2(c) because it regularly uses
                              5

                              6       the mails and/or the telephone to collect, or attempt to collect, directly or
                              7
                                      indirectly, defaulted consumer debts that it did not originate. It operates a
                              8
                                      nationwide debt collection business and attempts to collect debts from consumers
                              9

                          10          in virtually every state, including consumers in the State of California. Its
                          11
                                      principal, if not sole, business purpose is the collection of defaulted consumer
                          12
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                          13
                                      debts originated by others, and, in fact was acting as a debt collector as to the
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     548 MARKET ST. #80594




                          14          delinquent consumer debt it attempted to collect from Plaintiff.
                          15
                                  16. Defendant is a “person” as defined by the TCPA, 47 U.S.C. § 153(39) and the
                          16

                          17          FCRA, 15 U.S.C. § 1681a(b).

                          18      17. This case involves money due or owing or alleged to be due or owing from a
                          19
                                      natural person by reason of a consumer credit transaction. As such, this action
                          20

                          21          arises out of a “consumer debt” and “consumer credit” as those terms are

                          22          defined by Cal. Civ. Code § 1788.2(f).
                          23
                                  18. At all times relevant to this complaint, the Defendant used, controlled, and/or
                          24

                          25          operated “automatic telephone dialing systems” (hereinafter “ATDS”) as defined

                          26          by the TCPA, 47 U.S.C. § 227(a)(1) and 47 C.F.R. 64.1200(f)(1).
                          27
                                  19. The Federal Communications Commission (FCC) was given the authority to issue
                          28



                                  COMPLAINT FOR DAMAGES                                            Page 6 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 7 of 14 Page ID #:7

                                       orders implementing the TCPA. The FCC has issued an order that states:
                              1

                              2                 The creditors are in the best position to have records kept in the usual
                              3         course of business showing such consent, such as purchase agreements, sales
                                        slips, and credit applications. Should a question arise as to whether express
                              4
                                        consent was provided, the burden will be on the creditor to show it obtained
                              5         the necessary prior express consent. Similarly, a creditor on whose behalf an
                              6         autodialed or prerecorded message call is made to a wireless number bears
                                        the responsibility for any violation of the Commission's rules. Calls placed
                              7
                                        by a third party collector on behalf of that creditor are treated as if the
                              8         creditor itself placed the call. In re Rules Implementing the Tel. Consumer
                              9         Prot. Act of 1991, 23 FCC Rcd 559, 565 (F.C.C. 2007), paragraph 10.
                          10
                                        (Footnotes omitted, bold emphasis added.)

                          11
                                                                FACTUAL ALLEGATIONS
                          12
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                                  20. Plaintiff is an individual residing in the County of Los Angeles in the State of
                          13
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14           California.
                          15
                                  21. Plaintiff is informed and believes, and thereon alleges, that at all times relevant,
                          16
                                       Defendant conducted and continues to conduct business in the State of
                          17

                          18           California.
                          19
                                  22. Defendant’s business consists solely of the collection of delinquent consumer
                          20
                                       debts.
                          21

                          22      23. On or about July 2018, Plaintiff obtained a new cell phone number, starting with
                          23
                                       area code (818). When he obtained the new phone number he created an outgoing
                          24
                                       message which clearly stated that the phone number belonged to “Logan.”
                          25

                          26      24. He immediately began receiving numerous phone calls intended for someone
                          27
                                       whose name sounded like “Zeno Sacarran,” that were in connection with the
                          28
                                       collection of a debt.

                                  COMPLAINT FOR DAMAGES                                              Page 7 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 8 of 14 Page ID #:8

                                  25. Since July, Plaintiff has received at least three phone calls from Defendant, all
                              1

                              2       asking for the same person, who is not the Plaintiff or anyone the Plaintiff knows.
                              3
                                      Sometimes a day would pass without a phone call, but those days were rare.
                              4
                                  26. Each time Plaintiff receives a collection phone call from Defendant, there is a 2-
                              5

                              6       3 second delay before the caller begins speaking.
                              7
                                  27. Plaintiff has asked Defendant to stop calling him at least once since the calls
                              8
                                      started in July 2018, which is an oral revocation of consent to call Plaintiff’s phone
                              9

                          10          number. Plaintiff never gave consent for Defendant to contact him in any manner,
                          11
                                      including via phone.
                          12
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                          13
                                  28. Plaintiff received at least one phone call from Defendant after Plaintiff told
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14          Defendant to stop calling him.
                          15
                                  29. Plaintiff attempted to block Defendant’s calls by paying for AT&T Call Protect
                          16

                          17          and Robo-Killer, but somehow Defendant’s calls still make it through to Plaintiff.

                          18      30. Defendant’s phone calls often occur while Plaintiff is on the phone with other
                          19
                                      people, thus interrupting his use of his phone.
                          20

                          21                                       ACTUAL DAMAGES

                          22      31. Plaintiff has suffered actual damages as a result of these illegal collection and
                          23
                                      intimidation tactics by this Defendant in the form of: loss of telecommunications,
                          24

                          25          charges for cellular phone usage, invasion of privacy, personal embarrassment,

                          26          loss of personal reputation, loss of productive time, nausea, and feelings of fear,
                          27
                                      anxiety, hopelessness, anger, persecution, emotional distress, frustration, upset,
                          28



                                  COMPLAINT FOR DAMAGES                                               Page 8 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 9 of 14 Page ID #:9

                                      humiliation, and embarrassment, amongst other negative emotions.
                              1

                              2                      CAUSES OF ACTION CLAIMED BY PLAINTIFF
                              3
                                                                        COUNT I
                              4
                                                      VIOLATION OF § 1692B(3) OF THE FDCPA
                              5

                              6   32. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              7
                                      as though fully stated herein.
                              8
                                  33. A debt collector violates § 1692b(3) of the FDCPA when it communicates with
                              9

                          10          a person other than the consumer about location information of the consumer
                          11
                                      more than once.
                          12
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                          13
                                  34. Defendant violated § 1692b(3) when it, among other qualifying actions and
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14          omissions, contacted the Plaintiff, who is not the consumer who Defendant is
                          15
                                      attempting to contact, at least three times from July 2018 through the present
                          16

                          17          regarding the consumer, “Zeno Sacarran”’s debt owed to Defendant.

                          18                                           COUNT II
                          19
                                                        VIOLATION OF § 1692D OF THE FDCPA
                          20

                          21      35. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

                          22          as though fully stated herein.
                          23
                                  36. A debt collector violates § 1692d of the FDCPA when it engages in any conduct
                          24

                          25          the natural consequence of which is to harass, oppress, or abuse any person in

                          26          connection with the collection of a debt.
                          27
                                  37. Defendant violated § 1692d when it, among other qualifying actions and
                          28



                                  COMPLAINT FOR DAMAGES                                            Page 9 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 10 of 14 Page ID #:10

                                       omissions, willfully annoyed, abused, harassed Plaintiff, and placed telephone
                              1

                              2        calls to Plaintiff over and over again, despite being aware that Plaintiff was not
                              3
                                       the person Defendant was calling for, and despite Plaintiff requesting, over and
                              4
                                       over, that Defendant stop calling him.
                              5

                              6                                         COUNT III
                              7
                                                     VIOLATION OF § 1788.11(D) OF THE RFDCPA
                              8
                                   38. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              9

                          10           as though fully stated herein.
                          11
                                   39. A defendant violates § 1788.11(d) of the RFDCPA when it causes a telephone
                          12
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                          13
                                       to ring repeatedly or continuously to annoy the person called.
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14       40. Defendant violated § 1788.11(d) of the RFDCPA when it willfully called
                          15
                                       Plaintiff on the telephone over and over again, causing the phone to ring
                          16

                          17           repeatedly or continuously.

                          18                                            COUNT IV
                          19
                                                     VIOLATION OF § 1788.11(E) OF THE RFDCPA
                          20

                          21       41. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

                          22           as though fully stated herein.
                          23
                                   42. A defendant violates § 1788.11(e) of the RFDCPA when it communicates, by
                          24

                          25           telephone or in person, with the debtor with such frequency as to be

                          26           unreasonable and to constitute harassment to the debtor under the
                          27
                                       circumstances.
                          28



                                   COMPLAINT FOR DAMAGES                                            Page 10 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 11 of 14 Page ID #:11

                                   43. Defendant violated § 1788.11(e) of the RFDCPA when it willfully
                              1

                              2        communicated with Plaintiff by telephone so frequently that the number of
                              3
                                       communications is unreasonable and constitutes harassment of the Plaintiff –
                              4
                                       the recipient of the phone calls.
                              5

                              6                                            COUNT V
                              7
                                                       VIOLATION OF § 1788.17 OF THE RFDCPA
                              8
                                   44. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              9

                          10           as though fully stated herein.
                          11
                                   45. A defendant violates § 1788.17 of the RFDCPA when it fails to comply with
                          12
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                          13
                                       the provisions of 15 U.S.C. § 1692b to 1692j, inclusive.
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14       46. Defendants violated § 1788.17 of the RFDCPA when they willfully engaged in
                          15
                                       conduct, the natural consequence of which the violation of 15 U.S.C. § 1692b,
                          16

                          17           § 1692d, and § 1692e.

                          18                                               COUNT VI
                          19
                                     NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                          20

                          21                                (TCPA) 47 U.S.C. § 227 ET SEQ.

                          22       47. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                          23
                                       as though fully stated herein.
                          24

                          25       48. A person violates the TCPA when they contact or attempt to contact a person via

                          26           an Automated Telephone Dialing System (ATDS) without prior express consent
                          27
                                       from the recipient or any statutory exception.
                          28



                                   COMPLAINT FOR DAMAGES                                            Page 11 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 12 of 14 Page ID #:12

                                   49. Defendant violated the TCPA when they negligently contacted and/or attempted
                              1

                              2        to contact Plaintiff via an ATDS without prior express consent from Plaintiff.
                              3
                                                                        COUNT VII
                              4
                                                   KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                              5

                              6                   TELEPHONE CONSUMER PROTECTION ACT (TCPA)
                              7
                                                                 47 U.S.C. § 227 ET SEQ.
                              8
                                   50. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              9

                          10           as though fully stated herein.
                          11
                                   51. A person violates the TCPA when they knowingly or willfully contact or attempt
                          12
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                          13
                                       to contact a person via an ATDS without prior express consent from the recipient
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14           or any statutory exception.
                          15
                                   52. Defendant violated the TCPA when they knowingly and/or willfully contacted
                          16

                          17           and/or attempted to contact Plaintiff via an ATDS without prior express consent

                          18           from Plaintiff, and continued to contact Plaintiff via an ATDS after Plaintiff
                          19
                                       expressly, verbally revoked any alleged prior consent.
                          20

                          21                                            COUNT VIII

                          22                                      INVASION OF PRIVACY
                          23
                                   53. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                          24

                          25           as though fully stated herein.

                          26       54. A defendant is liable for the tort of invasion of privacy when it intentionally
                          27
                                       intrudes upon a plaintiff’s reasonable expectation of privacy in a way that is
                          28



                                   COMPLAINT FOR DAMAGES                                            Page 12 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 13 of 14 Page ID #:13

                                       highly offensive to a reasonable person, and, as a result that intrusion is a
                              1

                              2        substantial factor in causing harm to the plaintiff.
                              3
                                   55. Plaintiff had a reasonable expectation of privacy on his cellphone. Defendant
                              4
                                       intentionally intruded on both of those in a highly offensive manner by calling
                              5

                              6        Plaintiff, repeatedly and in a harassing manner, even after Defendant was aware
                              7
                                       that the person it was calling at Plaintiff’s phone number was not the person
                              8
                                       they were attempting to contact.
                              9

                          10       56. Defendant’s conduct was a substantial factor in causing Plaintiff actual harm in
                          11
                                       an amount to be proven at trial.
                          12
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                          13
                                                                  PRAYER FOR RELIEF
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14       WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                          15
                                            a) Award of compensatory damages for losses, in an amount to be
                          16

                          17                   determined at trial, pursuant to the common law of torts against

                          18                   Defendant and for Plaintiff, and,
                          19
                                            b) Award for interest on the amount of losses incurred at the prevailing legal
                          20

                          21                   rate against Defendant and for Plaintiff, and,

                          22                c) Award for pre-judgment interest against Defendant and for Plaintiff, and,
                          23
                                            d) Award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) (FDCPA),
                          24

                          25                   and pursuant to Cal. Civ. Code § 1788.30 (RFDCPA), against Defendant

                          26                   and for Plaintiff, and,
                          27
                                            e) Award of statutory damages in the amount of $1000.00 pursuant to 15
                          28



                                   COMPLAINT FOR DAMAGES                                             Page 13 of 14
                                  Case 2:18-cv-09900-AB-FFM Document 1 Filed 11/27/18 Page 14 of 14 Page ID #:14

                                               U.S.C. § 1692k(a)(1) (FDCPA) against Defendant and for Plaintiff, and,
                              1

                              2             f) Award of statutory damages in the amount of $1000.00 pursuant to Cal.
                              3
                                               Civ. Code § 1788.30 (RFDCPA) against Defendant and for Plaintiff, and,
                              4
                                            g) Award of statutory damages in the amount of $500.00 for each and every
                              5

                              6                negligent violation of the TCPA pursuant to 47 U.S.C. 227(b)(3)(B)
                              7
                                               against Defendant and for Plaintiff, and,
                              8
                                            h) Award of statutory damages in the amount of $1500.00 for each and
                              9

                          10                   every willful or knowing violation of the TCPA pursuant to 47 U.S.C.
                          11
                                               227(b)(3)(B) and 47 U.S.C. 227(b)(3)(C) against Defendant and for
                          12
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                          13
                                               Plaintiff, and,
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14                i) Award of costs of litigation and reasonable attorney’s fees pursuant to 15
                          15
                                               U.S.C. § 1692k(a)(1) (FDCPA), and pursuant to Cal. Civ. Code §
                          16

                          17                   1788.30 (RFDCPA), against Defendant and for Plaintiff, and,

                          18                j) Award to Plaintiff of such other and further relief as may be just and
                          19
                                               proper.
                          20

                          21                                 TRIAL BY JURY IS DEMANDED.

                          22       57. Pursuant to the seventh amendment to the Constitution of the United States of
                          23
                                       America, Plaintiff is entitled to, and demands, a trial by jury.
                          24

                          25                                              THE CARDOZA LAW CORPORATION

                          26
                                   DATED: November 27, 2018               BY: /S/ LAUREN B. VEGGIAN
                                                                          MICHAEL F. CARDOZA, ESQ.
                          27                                              LAUREN B. VEGGIAN, ESQ.
                          28                                              ATTORNEYS FOR PLAINTIFF,
                                                                          LOGAN KURTZ


                                   COMPLAINT FOR DAMAGES                                             Page 14 of 14
